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                            Kyle Jerome Dalen

                                    vs.

Jodi Harpstead, Commissioner of the Minnesota Department of Human Services

                      U.S. District Court No. 23-1877




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